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               Exhibit A
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Disclosure Statement

                                It is our pleasure to present the enclosed policy to you
                                            for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

   Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

             NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


           If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http://www.zurichnaproducercompensation.com

                           or call the following toll-free number: (866) 903-1192.



                 This Notice is provided on behalf of Zurich American Insurance Company

                                     and its underwriting subsidiaries.




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Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

           Foreign agents;
           Front organizations;
           Terrorists;
           Terrorist organizations; and
           Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.




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   THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR
                                POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS
           AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                        DISCLOSURE OF PREMIUM
                    (RELATING TO DISPOSITION OF TRIA)
                                                           SCHEDULE*


(1) Premium attributable to risk of loss from certified acts of terrorism through the end of the policy period based on the
extension of the Terrorism Risk Insurance Act of 2002, as amended by the Terrorism Risk Insurance Extension Act of 2005,
(“TRIA”) for lines subject to TRIA and the Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA):


$3,700

If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by any
change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.
(2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:

     No change unless one of the following is completed -

     Return Premium: N/A

     Additional Premium: N/A

If we notify you of an additional premium charge, the additional premium will be due as specified in such notice.
*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure of Premium                                                     December 31, 2014 unless extended by the federal
                                                                             government.
   In accordance with the TRIA, we are required to
   provide you with a notice disclosing the portion of                    C. Possibility of Additional or Return Premium
   your premium, if any, attributable to the risk of loss                    The premium attributable to the risk of loss from
   from terrorist acts certified under that Act for lines                    certified acts of terrorism coverage is calculated
   subject to TRIA. That portion of your premium                             based on the coverage (if any) in effect at the
   attributable is shown in the Schedule of this                             beginning of your policy for certified acts of
   endorsement or in the Declarations.                                       terrorism. If your policy contains a Conditional
B. Disclosure of Federal Participation in Payment of                         Endorsement, the termination of TRIA or extension
   Terrorism Losses                                                          of the federal program with certain modifications (as
                                                                             explained in that endorsement) may modify the
   The United States Government, Department of the                           extent of coverage (if any) your policy provides for
   Treasury, will pay a share of terrorism losses insured                    terrorism. If TRIA terminates or the Conditional
   under the federal program. The federal share equals                       Endorsement becomes applicable to your policy, the
   85% of that portion of the amount of such insured                         return premium (if any) or additional premium (if
   losses that exceeds the applicable insurer retention.                     any) shown in (2) of the Schedule will apply. If the
   The Act currently provides for no insurance industry                      level or terms of federal participation change, the
   or United States government participation in                              premium shown in (1) of the Schedule attributable to
   terrorism losses that exceed $100 billion in any one                      that part of the policy period extending beyond such a
   calendar year. The federal program established by                         change may not be appropriate and we will notify
   the Act is scheduled to terminate at the end of                           you of any changes in your premium.
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Massachusetts Company
Identification Form




Insurance is provided by:
Zurich American Insurance Company




Administrative Offices:
Zurich Towers
1400 American Lane
Schaumburg, Illinois 60196-7348

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Important Notice – In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                               Zurich in North America
                                               Customer Inquiry Center
                                                 1400 American Lane
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




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Zurich Excess Select Insurance Policy
Declarations

Insurance is provided by:               ZURICH AMERICAN INSURANCE COMPANY
                                                   1400 American Lane
                                              Schaumburg, Illinois 60196-1056
                                                    (The “Underwriter”)

THIS POLICY FOLLOWS TO THE TERMS, CONDITIONS, AND LIMITATIONS OF THE FOLLOWED POLICY.
COVERAGE IS LIMITED TO LOSS FROM CLAIMS AGAINST THE POLICYHOLDER DURING THE POLICY PERIOD
OR ANY APPLICABLE EXTENDED REPORTING PERIOD, IF EXERCISED, AND REPORTED TO THE
UNDERWRITER PURSUANT TO SUBSECTION III.A. THE LIMIT OF LIABILITY SHALL BE REDUCED BY AMOUNTS
INCURRED AS DEFENSE COSTS AND/OR CLAIMS EXPENSES, IF APPLICABLE. PLEASE READ THIS POLICY
CAREFULLY.   DEFINED TERMS APPEAR IN BOLD AND HAVE THE MEANING SET FORTH IN THE
DECLARATIONS.

Policy Number:     IPR 3792308-03
Item 1. Policyholder and Mailing Address:            President and Fellows of Harvard College
                                                     1033 Massachusetts Avenue, Suite 360
                                                     Cambridge, MA 02138-3846
Item 2. Aggregate Limit of Liability:            $15,000,000
Item 3. Underlying Insurance:

          A.       Followed Policy          Policy Type       Policy Number         Limit of Liability          Attachment
               National Union Fire         Primary           01-817-25-28         $25,000,000                 $2,500,000
               Insurance Company of
               Pittsburgh, PA

          B.     Other Underlying Insurance             Policy Number       Limit of Liability            Attachment
               N/A                                    N/A                   N/A                  N/A
               N/A                                    N/A                   N/A                  N/A
               N/A                                    N/A                   N/A                  N/A

Item 4. Policy Period: From: 12:01 A.M. on 11/01/2014To: 12:01 A.M. on 11/01/2015
                       Policy incepts and expires at the local time at the address shown in Item 1.
Item 5. Notice to Underwriter:
         A.    Address for Notice of Claim or Potential Claim       B.   Address for All Other Notices:
               Attn:  Zurich North America                               Attn:  Zurich American Insurance Company -
                      Management Solutions Claims                               Strategic Risk Solutions Group
                      P.O. Box 968041                                           1 Liberty Plaza, 32nd Floor
                      Schaumburg, Illinois 60196-8041                           New York, NY 10006
                      Fax #: (866) 255-2962
                      Email: msgclms@zurichna.com

Item 6. Premium:       $370,000


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Item 7. Endorsements Effective at Inception: See Attached Schedule of Forms and Endorsements




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Zurich Excess Select Insurance Policy
The Underwriter issues this policy in reliance upon the statements made in the application, warranty, if permitted,
representations or statements made by the Policyholder to the Underwriter, in the application to the insurers of the
Underlying Insurance and any binder of Underlying Insurance. All terms in bold below shall have the meaning
provided in the Declarations. In consideration of payment of the premium and subject to the Declarations and the
definitions, limitations, conditions, provisions and other terms of this policy and any endorsements hereto, the Underwriter
and the Policyholder agree as follows:
I.   INSURING CLAUSE – The Underwriter shall provide the Policyholder with insurance coverage during the Policy
     Period excess of the Underlying Insurance. The Policyholder may have the right to purchase an extended
     reporting period for purposes of reporting claims during the extended reporting period. Coverage under this policy
     shall attach only after:
     A. all the Limits of Liability of the Underlying Insurance have been exhausted solely as a result of the actual
        payment of covered loss(es); or
     B. the Policyholder and/or any other insurer(s), entity, or individual on behalf of the Policyholder has paid up to the
        full limits of liability for such loss, and satisfied any deductible(s) or retention amount(s) of the Underlying
        Insurance on behalf of the insurer(s) of any Underlying Insurance, including coverage provided pursuant to a
        difference in conditions policy.
     Coverage under this policy shall then apply in conformance with and subject to the warranties, if permitted, limitations,
     conditions, provisions, and other terms of the Followed Policy, together with the warranties, if permitted, and
     limitations of any other Underlying Insurance. In no event shall coverage under this policy be broader than
     coverage under any Underlying Insurance. In the event of reduction or exhaustion of all the Limits of Liability of the
     Underlying Insurance solely as a result of the payment of covered loss(es), this policy shall: (1) in the event of
     reduction, pay excess of the reduced Limit(s) of Liability of the Underlying Insurance, or (2) in the event of
     exhaustion, continue in force as primary or governing insurance excess of the applicable deductible(s) or retention
     amount(s) in the Followed Policy, which deductible(s) or retention(s) shall be applied to any subsequent covered
     loss as specified in the Followed Policy.
II. LIMIT OF LIABILITY
     The amount set forth in Item 2. of the Declarations shall be the Underwriter’s maximum aggregate liability under this
     policy with respect to all claims. Defense costs and/or claims expenses, if applicable, are part of and not in addition to
     the Limit of Liability and the payment by the Underwriter of such defense costs and/or claims expenses, if applicable,
     reduce the Limit of Liability.
     Any coverage under the Followed Policy that provides for a maximum Limit of Liability that is less than the Limit of
     Liability stated in Item 3. of the Declarations for such Underlying Insurance (“Sublimit of Liability”) shall not be
     provided by this policy. Provided, however, any actual payment of covered loss(es) made under the Followed Policy
     or other Underlying Insurance on account of any claim, for which coverage is subject to a Sublimit of Liability, shall
     be recognized by the Underwriter as contributing to the reduction or exhaustion of the Limit(s) of Liability designated
     in Item 2. of the Declarations.
III. CONDITIONS
     A. Reporting and Notice – As a condition precedent to exercising any rights under this policy, the Policyholder shall
        give the Underwriter written notice of any claim or any potential claim under this policy or any Underlying
        Insurance in the same manner required by the terms and conditions of the Followed Policy. Notwithstanding
        the foregoing, notice to the insurer(s) of the Followed Policy or other Underlying Insurance does not constitute
        notice to the Underwriter. Written notice of any claim or potential claim shall be provided to the Underwriter at the
        address set forth in Item 5.A. of the Declarations.




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   The Underwriter shall be given notice in writing to the address set forth in Item 5.B. of the Declarations as soon as
   practicable in the event of (1) termination of any Underlying Insurance, (2) any additional or return premiums
   charged or allowed in connection with any Underlying Insurance, or (3) any change to any of the Underlying
   Insurance.
B. Alteration – No change in, modification of, or assignment of interest under this policy or Underlying Insurance
   shall be effective except when made by a written agreement or endorsement to this policy by an authorized
   representative of the Underwriter. To the extent such Underlying Insurance is modified or altered, the
   Underwriter shall not recognize any new or modified coverage to which it has not consented.
C. Maintenance of Underlying Insurance – As a condition precedent to coverage under this policy, the Policyholder
   agrees to maintain the Underlying Insurance during the Policy Period in full effect with solvent insurers. To the
   extent such Underlying Insurance is not maintained, then the Policyholder shall be deemed self-insured for the
   amount of the Limit(s) of Liability of any such Underlying Insurance.




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Form and Endorsement Schedule
     Policy No.        Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Add’l Prem.                Return Prem.

  IPR 3792308-03         11/01/2014          11/01/2015          11/01/2014              ----------               ----------


Policyholder: President and Fellows of Harvard College

                                                                                                      Edition     Endorsement
                           Form Name                                       Form Number
                                                                                                       Date           No.
Disclosure Statement                                                        U-GU-873-A                06/2011
Disclosure Statement                                                        U-GU-874-A                06/2011
Advisory notice to policyholders regarding the U.S. Treasury            U-GU-1041-A CW                03/2011
Department's Office of Foreign Assets Control ("OFAC")
regulations
Disclosure of Premium (Relating to Disposition of TRIA)                  U-GU-692-C CW                06/2013
Massachusetts Company Identification Form                                   U-GU-745-A                11/2006
In-Witness Clause & Corporate Signatures                                    U-GU-319-F                01/2009
Policy Declarations                                                    U-FLXS-D100-A CW               08/2011
Zurich Excess Select Insurance Policy                                   U-FLXS-100-A CW               08/2011
Forms and Endorsement Schedule                                          U-FLXS-101-A CW               02/2012
Inter-line Cap on Losses from Certified Acts of Terrorism                U-GU-767-A CW                01/2008                  1
Endorsement
Non-Follow Form Endorsement                                                U-FLXS-205-A               08/2011                  2
Pending or Prior Exclusion Endorsement                                  U-FLXS-207-A CW               08/2011                  3




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     CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
     Insureds Name                                                                 Policy Number                  Effective Date       Endorsement Number

     President and Fellows of Harvard College                                      IPR 3792308-03                 11/01/2014           1


                        THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


     This endorsement modifies your insurance:


     Zurich American Insurance Company


     Employment Practices Liability Excess Policy

A.       Cap on Losses From Certified Terrorism Losses
         “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concurrence with the
         Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
         Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall
         certify an act of terrorism:
         1.          to be an act of terrorism;
         2.          to be a violent act or an act that is dangerous to human life, property or infrastructure;
         3.          to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
                     (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
                     principally in the United States, on which United States income tax is paid and whose insurance coverage is
                     subject to regulation in the United States), or the premises of a United States mission; and
         4.          to have been committed by an individual or individuals as part of an effort to coerce the civilian population of
                     the United States or to influence the policy or affect the conduct of the United States Government by coercion.
         No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
         (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
         not exceed $5,000,000.
         If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program Year
         (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance Act, we
         shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case
         insured losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
         Secretary of Treasury.

B.       Application of Other Exclusions
         The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
         terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited
         or restricted under this policy.




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Endorsement # 2




Non-Follow Form Endorsement
     Policy No.          Eff. Date of Pol.       Exp. Date of Pol.   Eff. Date of End.   Add’l Prem.       Return Prem.
  IPR 3792308-03           11/01/2014              11/01/2015          11/01/2014           N/A                N/A


Policyholder: President and Fellows of Harvard College

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy
It is agreed that:
The following section is added to the policy:
EXCLUSIONS:
This policy does not provide the Policyholder with insurance coverage for any claim made against or loss incurred by any
insured that is subject to the types of coverage(s) afforded under the Followed Policy as set forth in the SCHEDULE
below. Any payment made by the insurer of the Followed Policy for loss for such coverage shall reduce or exhaust the
limits of liability of the Followed Policy for purposes of ascertaining the attachment for coverage under this policy.

                                             NON-FOLLOWED COVERAGE(S) SCHEDULE
 Security, Privacy and Media Content Liability Insurance Coverage afforded under Coverage Part A of the Followed
 Policy
 Media Claim (as defined by the Followed Policy)
 Security/Privacy Claim (as defined by the Followed Policy)

ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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Endorsement # 3




Prior or Pending Exclusion Endorsement
     Policy No.          Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Add’l Prem.         Return Prem.
  IPR 3792308-03           11/01/2014           11/01/2015         11/01/2014             NA                  NA


Policyholder: President and Fellows of Harvard College

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy
It is agreed that:
The following section is added to the policy:
EXCLUSIONS:
The Underwriter shall not be liable for loss on account of, based upon, arising out of, or attributable to any written
demand, suit or proceeding pending, or order, decree or judgment entered against any insured on or prior to
May 31, 2010 with respect to any Professional Services Claim, Investment Advisory Services Claims, or Fiduciary Liability
Claims, or all other Claims as defined in the Followed Policy
July 1, 2006 with respect to any other Claim as defined in the Followed Policy for the Limit of Liability of $5,000,000 in
excess of $25,000,000
July 1, 2007 with respect to any other Claim as defined in the Followed Policy for the Limit of Liability of $10,000,000 in
excess of $30,000,000;
 or the same or substantially the same wrongful act or interrelated wrongful acts, fact, circumstance or situation underlying
or alleged therein.

ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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